Case No. 1:24-cv-00583-DDD-STV Document 1-2 filed 03/01/24 USDC Colorado pg 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No.

   UNITED STATES OF AMERICA,

                 Plaintiff,

   v.

   1.     REAL PROPERTY LOCATED AT 760 WEST BEAVER CREEK BOULEVARD,
          APT 111, AVON, COLORADO;
   2.     REAL PROPERTY LOCATED AT 35 LOWER WOODBRIDGE ROAD, #P157,
          SNOWMASS VILLAGE, COLORADO;
   3.     REAL PROPERTY LOCATED AT 35 UPPER WOODBRIDGE ROAD, #17AB,
          SNOWMASS VILLAGE, COLORADO;
   4.     REAL PROPERTY LOCATED AT 254 WREN COURT, #204, BASALT,
          COLORADO;
   5.     REAL PROPERTY AND ALL APPURTENANCES, ATTACHMENTS, AND
          FURNISHINGS THERETO LOCATED AT 6997 TREMOLITE DRIVE, CASTLE
          ROCK, COLORADO;
   6.     REAL PROPERTY LOCATED AT 2208 ELK LANE, BASALT, COLORADO;
   7.     2021 FORD BRONCO, VIN: 1FMEE5DP9MLA90163;
   8.     2022 CHEVROLET CORVETTE STINGRAY CONVERTIBLE, VIN:
          1G1YB3D47N5121476;
   9.     2022 PORSCHE TAYCAN SEDAN, VIN: WPOAA2Y18NSA16701;
   10.    2023 CADILLAC ESCALADE, VIN: 1GYS4FKL1PR523454;
   11.    CRYPTOCURRENCY HELD IN COINBASE ACCOUNT
          594304c17d0b3d025a5ff785;
   12.    CRYPTOCURRENCY AND NFTS HELD IN ADDRESS
          0xAD71a7c34de9C27224386DAf370Ad4BdE7f7575D;
   13.    CRYPTOCURRENCY AND NFTS HELD IN ADDRESS
          0xbd08Bdea67fDB84dE8223513F70D9b9bE3C30580;
   14.    2021 YAMAHA RAPTOR MODEL NUMBER YFM09RYXLW;
   15.    MISCELLANEOUS PAINTINGS LISTED IN ATTACHMENT A;
   16.    MISCELLANEOUS HERITAGE VINTAGE SPORT AUCTIONS ITEMS LISTED
          IN ATTACHMENT B;
   17.    APPROXIMATELY $242,962.96 IN FUNDS FROM ALPINE BANK ACCOUNT
          8911911837; and
   18.    APPROXIMATELY $24,384.41 IN FUNDS FROM ALPINE BANK ACCOUNT
          8911911951.

                 Defendants.

                                           1
Case No. 1:24-cv-00583-DDD-STV Document 1-2 filed 03/01/24 USDC Colorado pg 2 of 2




                  WARRANT FOR ARREST OF PROPERTY IN REM
   ______________________________________________________________________

   TO: UNITED STATES MARSHALS SERVICE AND/OR ANY OTHER DULY
   AUTHORIZED LAW ENFORCEMENT OFFICER:

          PURSUANT to the Order for Warrant for Arrest of Property In Rem issued by this

   Court, YOU ARE HEREBY COMMANDED TO ARREST AND SEIZE as soon as

   practicable, the following defendant assets described in the Verified Complaint for

   Forfeiture In Rem filed herewith, and to use whatever means may be appropriate to

   protect and maintain it in your custody until further order of this Court:

          a.     2021 Ford Bronco, VIN: 1FMEE5DP9MLA90163,
          b.     2022 Chevrolet Corvette Stingray Convertible, VIN:
                 1G1YB3D47N5121476,
          c.     2022 Porsche Taycan Sedan, VIN: WPOAA2Y18NSA16701,
          d.     2023 Cadillac Escalade, VIN: 1GYS4FKL1PR523454,
          e.     Cryptocurrency in Coinbase Account 594304c17d0b3d025a5ff785,
          f.     Cryptocurrency at Address
                 0xAD71a7c34de9C27224386DAf370Ad4BdE7f7575D,
          g.     Cryptocurrency at Address
                 0xbd08Bdea67fDB84dE8223513F70D9b9bE3C30580,
          h.     2021 Yamaha Raptor Model Number YFM09RYXLW,
          i.     Miscellaneous Paintings Listed in Attachment A,
          j.     Miscellaneous Heritage Vintage Sport Auctions Items Listed in Attachment
                 B,
          k.     Approximately $242,962.96 in Funds from Alpine Bank Account
                 8911911837, and
          l.     Approximately $24,384.41 in Funds from Alpine Bank Account
                 8911911951.

          DATED this        day of ______________, 2024.

                                                     JEFFREY P. COLWELL
                                                     Clerk of the U.S. District Court

                                                 By: _____________________________
                                                     Deputy Clerk

                                                 2
